874 F.2d 1509
    FEDERAL SAVINGS &amp; LOAN INSURANCE CORP., as receiver forSunrise Savings &amp; Loan Assoc., Plaintiff-Appellant,v.D &amp; D GOLFVIEW PROPERTIES, INC., et al., Defendants-Appellees.FEDERAL SAVINGS &amp; LOAN INSURANCE CORP., as receiver forSunrise Savings &amp; Loan Assoc., Plaintiff-Appellant,v.FLORIDA NATIONAL BANK, Defendant-Appellee.FEDERAL SAVINGS &amp; LOAN INSURANCE CORP., as receiver forSunrise Savings &amp; Loan Assoc., Plaintiff-Appellant,v.Bengt BLOOM, Defendant-Appellee.
    No. 87-5539.
    United States Court of Appeals,Eleventh Circuit.
    June 8, 1989.
    
      Eben G. Crawford, Washington, D.C., for Federal Sav. &amp; Loan Ins. corp.
      David H. Baker, Elizabeth T. Maass, Paul B. Erickson, Palm Beach, Fla., for Florida Nat. Bank.
      Steven R. Jacob, Boynton Beach, Fla., for Bloom.
      Appeal from the United States District Court for the Southern District of Florida.
      Before VANCE and HATCHETT, Circuit Judges.*
      VANCE, Circuit Judge:
    
    
      1
      This action arose from the 1985 insolvency of Sunrise Savings &amp; Loan Association, Inc.  ("Old Sunrise").  The Federal Home Loan Bank Board appointed the Federal Savings and Loan Insurance Corporation (FSLIC) as receiver for Old Sunrise and created Sunrise Federal to take over certain assets of Old Sunrise.  Among the assets and liabilities transferred to Sunrise Federal were two state court actions brought by Old Sunrise against the Florida National Bank and Bengt Bloom.  On September 12, 1986 Sunrise Federal was adjudged bankrupt and FSLIC was appointed as receiver.  Shortly thereafter the state court substituted the FSLIC as the plaintiff in the Florida National Bank and Bloom actions.  FSLIC removed the two cases to federal district court.  FSLIC subsequently moved to dismiss the counterclaims of Florida National Bank and Bloom on the grounds that the district court had no subject matter jurisdiction.  The district court denied FSLIC's motion.
    
    
      2
      The district court granted FSLIC's motion for an interlocutory appeal under 28 U.S.C. Sec. 1292(b).
    
    
      3
      The FSLIC argues that the adjudication of receivership claims by the courts would unlawfully restrain the FSLIC's powers and functions as receiver.  See 12 U.S.C. Secs. 1464(d)(6)(C), 1729.
    
    
      4
      This position recently has been squarely rejected by the Supreme Court in Coit Independence Joint Venture v. Federal Sav. &amp; Loan Ins. Corp., --- U.S. ----, 109 S.Ct. 1361, 103 L.Ed.2d 602 (1989).  ("The statutes governing FSLIC and the Bank Board do not grant FSLIC adjudicatory power over creditors' claims against insolvent savings and loan associations under FSLIC receivership, nor do they divest the courts of jurisdiction to consider these claims de novo.").  Accordingly, the district court had subject matter jurisdiction over the suits.
    
    
      5
      The judgment of the district court is AFFIRMED and this case is REMANDED to the district court.
    
    
      
        *
         Hon. William C. O'Kelley, U.S. District Judge for the Northern District of Georgia, sat by designation as a member of the panel at oral argument.  Subsequent to oral argument, Judge O'Kelley became disqualified.  This opinion is by a quorum
      
    
    